   Case 2:12-md-02323-AB Document 3591-1 Filed 08/30/12 Page 1 of 5




                      UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA




IN RE: NATIONAL FOOTBALL                          No. 2:12-md-02323-AB
LEAGUE PLAYERS’ CONCUSSION
INJURY LITIGATION                                 MDL No. 2323


THIS DOCUMENT RELATES TO:
Alexander, et al. v. The National Football
League, No. 12-cv-01923

Myers v. The National Football League,
No. 12-cv-01424

Schobel v. National Football League, No.
12-cv-02801


                   MEMORANDUM OF LAW IN SUPPORT
                   OF NATIONAL FOOTBALL LEAGUE’S
               MOTION TO DISMISS PLAINTIFFS’ COMPLAINTS

               Defendant National Football League (the “NFL”) respectfully submits this

brief in support of its motion to dismiss Plaintiffs’ complaints in the above-captioned

actions pursuant to Fed. R. Civ. P. 12(b)(5) for insufficient service of process.

               At issue in this motion are three of the cases included in In re: National

Football League Players’ Concussion Injury Litigation, MDL No. 2323, 12-md-2323

(E.D. Pa.). In each, Plaintiffs failed to serve the NFL with the summons and complaint

within 120 days after the complaint was filed, as required by the Federal Rules. For the
    Case 2:12-md-02323-AB Document 3591-1 Filed 08/30/12 Page 2 of 5




reasons set forth below, each complaint should therefore be dismissed pursuant to Fed. R.

Civ. P. 12(b)(5).1

                               STATEMENT OF FACTS

               Plaintiff in Myers v. The National Football League, No. 12-cv-01424 (the

“Myers action”) filed his complaint in the Southern District of Texas on February 24,

2012, naming the NFL as the sole defendant.         The Judicial Panel on Multidistrict

Litigation transferred the action to this Court on March 14, 2012. See MDL No. 02323,

Dkt. No. 78 (Mar. 21, 2012); E.D. Pa. No. 12-cv-01424, ECF Dkt. No. 1 (Mar. 21, 2012).

The Myers plaintiff has not filed a certificate of service, and Defendant NFL has not been

served with a copy of the summons and complaint. (See Declaration of Anastasia Danias,

dated August 29, 2012 (“Danias Declaration”), at ¶ 2; see also ECF Docket, Case No. 12-

cv-00582 (S.D. Tex.), ECF Docket, Case No. 12-cv-01424 (E.D. Pa.) (reflecting no

affidavit of service on the NFL).)

               Plaintiffs in Alexander, et al. v. The National Football League, No. 12-cv-

01923 (the “Alexander action”) filed their complaint in the Southern District of Texas on

March 14, 2012, naming the NFL as the sole defendant.            The Judicial Panel on

Multidistrict Litigation transferred the action to this Court on March 21, 2012. See MDL

No. 02323, ECF Dkt. No. 80 (Mar. 21, 2012); E.D. Pa. No. 12-cv-01923, ECF Dkt. No. 1

(Apr. 4, 2012). The Alexander plaintiffs have not filed a certificate of service, and

Defendant NFL has not been served with a copy of the summons and complaint. (See

Declaration of Anastasia Danias, dated August 29, 2012 (“Danias Declaration”), at ¶ 3;


1
    This motion is being filed at the same time as the NFL’s motions to dismiss on
    preemption grounds as provided for in Case Management Order No. 4. (See CMO
    No. 4, at ¶ 3 (June 21, 2012, ECF Dkt. No. 98).)

                                            2
   Case 2:12-md-02323-AB Document 3591-1 Filed 08/30/12 Page 3 of 5




see also ECF Docket, Case No. 12-cv-00794 (S.D. Tex.), ECF Docket, Case No. 12-cv-

01923 (E.D. Pa.) (reflecting no affidavit of service on the NFL).)

               Finally, plaintiff in Schobel v. National Football League, No. 12-cv-02801

(the “Schobel action”) filed his complaint in the Southern District of Texas on April 19,

2012, naming the NFL as the sole defendant.          The Judicial Panel on Multidistrict

Litigation transferred the action to this Court on May 3, 2012. See MDL No. 02323, ECF

Dkt. No. 100 (May 3, 2012); E.D. Pa. No. 12-cv-02801, ECF Dkt. No. 1 (May 22, 2012).

The Schobel plaintiff has not filed a certificate of service, and Defendant NFL has not

been served with a copy of the summons and complaint. (See Danias Declaration, at ¶ 4;

see also ECF Docket, Case No. 12-cv-01244 (S.D. Tex.), ECF Docket, Case No. 12-cv-

02801 (E.D. Pa.) (reflecting no affidavit of service on the NFL).)

                                      ARGUMENT

               Pursuant to Fed. R. Civ. P. 4(c), the “plaintiff is responsible for having the

summons and complaint served within the time allowed by Rule 4(m).” Fed. R. Civ. P.

4(c). Rule 4(m), in turn, provides that “[i]f a defendant is not served within 120 days

after the complaint is filed, the court—on motion or on its own after notice to the

plaintiff—must dismiss the action without prejudice against that defendant or order that

service be made within a specified time.” Fed. R. Civ. P. 4(m). Moreover, pursuant to

Fed. R. Civ. P. 12(b)(5), insufficient service of process is a basis for dismissal of an

action.

               In each of the Myers, Alexander and Schobel actions, plaintiffs filed their

complaints more than 120 days ago: service in the Myers action should have occurred by

June 23, 2012; service in the Alexander action should have occurred by July 12, 2012;



                                             3
   Case 2:12-md-02323-AB Document 3591-1 Filed 08/30/12 Page 4 of 5




and service in the Schobel action should have occurred by August 17, 2012. Because the

NFL has not yet been served in any of these actions—and because there are no other

defendants named—the Myers, Alexander and Schobel complaints should therefore be

dismissed pursuant to Fed. R. Civ. P. 12(b)(5) for insufficient service of process.

               On a motion to dismiss brought under FRCP 12(b)(5), a plaintiff bears the

burden of showing that he or she made proper service. See Grand Entm’t Grp., Ltd. v.

Star Media Sales, Inc., 988 F.2d 476, 488 (3d Cir. 1993) (“[T]he party asserting the

validity of service bears the burden of proof on that issue.”); see also State Farm Mut.,

Auto. Ins. Co. v. Tz’Doko V’Chesed of Klausenberg, 543 F. Supp. 2d 424, 428 (E.D. Pa.

2008) (noting that the party asserting the validity of service must prove that service was

effective by a preponderance of the evidence). Here, there is no evidence at all proving

or even suggesting that the NFL was served.

               Because the Myers, Alexander and Schobel plaintiffs have failed to effect

proper service on Defendant NFL, their claims should be dismissed.




                                             4
   Case 2:12-md-02323-AB Document 3591-1 Filed 08/30/12 Page 5 of 5




                                     CONCLUSION

               For the foregoing reasons, the NFL respectfully requests that this Court

grant its motion to dismiss the Myers, Alexander and Schobel complaints in their entirety,

and without prejudice, for insufficient service of process.


Dated: August 30, 2012                        s/ Brad S. Karp
                                              PAUL, WEISS, RIFKIND, WHARTON &
                                              GARRISON LLP
                                              Brad S. Karp
                                              Theodore V. Wells, Jr.
                                              Beth A. Wilkinson
                                              Lynn B. Bayard
                                              1285 Avenue of the Americas
                                              New York, NY 10019-6064
                                              Tel: (212) 373-3000

                                              DECHERT LLP
                                              Judy L. Leone (Pa. Atty. ID 41165)
                                              Robert C. Heim (Pa. Atty. ID 15758)
                                              Cira Centre
                                              2929 Arch Street
                                              Philadelphia, PA 19104-2808
                                              Tel: (215) 994-4000

                                              DUANE MORRIS LLP
                                              John J. Soroko (Pa. Atty. ID 25987)
                                              Dana B. Klinges (Pa. Atty. ID 57943)
                                              30 South 17th Street
                                              Philadelphia, PA 19103-4196
                                              Tel: (215) 979-1000

                                              Attorneys for the National Football League




                                             5
